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                                NEWCO GOVERNANCE COVENANTS

These Governance Covenants will bind NewCo (the “Company”) and the Company’s Subsidiaries to
operating requirements and controls that ensure that the Company and the Company’s Subsidiaries (i)
develop, manufacture, distribute and sell all of their products, including all opioid products, in a safe and
secure manner that limits the risk of diversion, (ii) comply with their respective obligations under the Public
Entity Settlements and the Private Entity Settlements, (iii) pursue and implement Public Health Initiatives,
(iv) comply with the Operating Injunction and (v) otherwise operate in accordance with the Company’s
Purpose and take into account long-term public health interests relating to the opioid crisis and responsible,
transparent and sustainable practices in the management of a pharmaceutical business.

 Category                                                    Covenant

 Governance          Purpose and Principles
                             In accordance with Section 2.3(a) of the Limited Liability Company
                              Operating Agreement of the Company (the “Operating Agreement”), the
                              purpose of the Company shall be to, directly and/or through the Company’s
                              Subsidiaries, operate the Company Transferred Assets and any other assets
                              of the Company or any of its Subsidiaries (i) in accordance with the terms of
                              the Agreement, the Plan and the Confirmation Order, (ii) subject to the
                              Operating Injunction and these Governance Covenants, and (iii) in a
                              responsible, transparent and sustainable manner, taking into account the
                              public interest in transparency regarding the Company and balancing: (x) the
                              best interests of its stakeholders (including the direct and indirect holders of
                              Interests in the Member), to fund and provide abatement of the opioid crisis,
                              (y) effective deployment of the Company’s and the Company’s Subsidiaries’
                              Assets to address the opioid crisis, and (z) the best interests of third parties
                              materially affected by the Company’s and the Company’s Subsidiaries’
                              conduct (collectively, the “Company’s Purpose”).

                             In accordance with Section 2.3(b) of the Operating Agreement, the Company
                              shall not be required (and the Board shall not be required to cause the
                              Company) to maximize the Company’s or the Company’s Subsidiaries’ sales
                              or profits, but rather shall take all elements of the Company’s Purpose into
                              account. In balancing the interests of the Member prior to implementation
                              of the Company Disposition Event, the Board shall give priority to the
                              Company’s obligation to fund the Minimum TopCo Distribution for the
                              purpose of devoting funds to opioid abatement programs.
                     Effectuation of the Company’s Purpose
                             In accordance with Section 2.3 of the Operating Agreement, the Company
                              shall, and shall cause the Company’s Subsidiaries to, conduct their respective
                              business in accordance with the Company’s Purpose and in a manner that
                              complies with these Governance Covenants in order to ensure that each of
                              the Company and the Company’s Subsidiaries, (i) develops, manufactures,
                              distributes and sells all of its products, including all opioid products, in a safe
                              and secure manner that limits the risk of diversion, (ii) complies with its
                              obligations under the Public Entity Settlements and the Private Entity
                              Settlements, (iii) pursues and implements Public Health Initiatives, and
                              (iv) otherwise takes into account long-term public health interests relating to


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                     the national opioid crisis and responsible, transparent and sustainable
                     practices in management of a pharmaceutical business.

                    The Company shall integrate the Company’s Purpose into material business
                     activities and systems by:
                         o   providing relevant employees with at least annual training on the
                             Purpose, the Injunction and these Governance Covenants. The
                             Company shall provide appropriate, relevant training to new
                             employees at the time of their onboarding.
                         o   incorporating, under the oversight of the Board, to the extent
                             relevant, the Company’s Purpose, the Injunction and these
                             Governance Covenants into the Company’s controls, performance
                             management programs, management and leadership oversight, and
                             executive compensation schemes.
                         o   vesting the appropriate committee of the Company Board with the
                             responsibility for oversight of policy-setting and monitoring with
                             respect to the Company fulfilling its Purpose; compensating and
                             managing its workforce; maintaining legal compliance and
                             otherwise fulfilling its obligations under these Governance
                             Covenants.
                         o   authorizing the Board and Board committees with the ability and
                             the funding to retain external subject matter experts who may
                             provide insight, recommendations and review of the Company’s
                             strategic plans and programs for implementing these Covenants.
                         o   subject to the Company’s obligation to distribute Excess Cash in
                             accordance with Section 6.5(a) of the Operating Agreement, using
                             reasonable efforts to ensure, in consultation with the Board, that the
                             amount of unrestricted Cash and cash equivalents held by the
                             Company and the Company’s Subsidiaries (other than MDT
                             Distributable Sale Proceeds), as reflected on the consolidated
                             balance sheet of the Company and the Company’s Subsidiaries, is
                             adequate for purposes of ensuring the Company’s ability to comply
                             with its obligation to fund Operating Expenses consistent with the
                             Company’s Purpose and these Governance Covenants.
                         o   taking, as determined by the Company Board, steps as needed to
                             ensure that these Governance Covenants are integrated into the
                             Company’s strategic plans, management controls and day to day
                             operations.

                    The Company will maintain programs and controls reasonably designed to
                     manage risk and protect and strengthen its resilience and capacity to
                     anticipate and manage business threats and disruptions. This shall include
                     plans and programs relating to: (i) business continuity, (ii) crisis
                     management; (iii) physical security; (iv) emergency management and
                     response; and (v) IT disaster recovery. The Board (or an authorized
                     committee thereof) shall review Purdue’s Business Continuity Plan dated
                     May 2020 and may decide to have it apply to the Company or whether

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                       another business continuity plan should be adopted in a manner consistent
                       with the Company’s Purpose. The Board (or an authorized committee
                       thereof) will review its business continuity plan from time to time and
                       amend it if appropriate, in a manner consistent with the Company’s
                       Purpose.

                Transparency & Reporting

                      The Board shall cause the Company to prepare (i) in accordance with
                       Section 8.3(c) of the Operating Agreement, semi-annual public benefit
                       reports to be published publicly, which shall describe the effectuation of the
                       Company’s Purpose, the short-term and long-term value being created by
                       the Company, and the public benefits being achieved consistent with the
                       Company’s Purpose (“Public Benefit Reports”), and (ii) in accordance
                       with Section 8.3(b) of the Operating Agreement semi-annual financial and
                       operating reports to be delivered to TopCo and NOAT.

                      The Board shall cause the Company to, from time to time, solicit and
                       consider feedback from those stakeholders that the Board determines to be
                       appropriate, in identifying material threats, opportunities, megatrends and
                       material topics to the company to inform the Public Benefit Reports.

                PHI Funding and Implementation
Access to
Medicine -
Public Health         Subject to the parameters set forth in Section 6.2 of the Operating
Initiatives            Agreement, including the PHI Budget Amount, the Company will pursue
                       and implement the Public Health Initiatives, as defined in the Plan, by
                       developing and distributing medicines to treat opioid addiction and reverse
                       opioid overdoses in a manner consistent with the plans outlined in the PHI
                       program plan, provided that such PHI program plan may be reviewed and
                       amended from time to time by the Board (or an authorized committee
                       thereof) in a manner consistent with the Company’s Purpose.


Product
Diversion and         The Company will maintain product security and diversion controls
Security               reasonably designed to ensure that the Company’s Products are sold and
                       distributed in a manner that is safe, compliant and minimizes the risk of
                       diversion and that is otherwise compliant with:

                           o   The Operating Injunction.
                           o   applicable Drug Enforcement Administration regulations.
                           o   relevant Standard Operating Procedures for Purdue Pharma L.P.
                               and Associated US Companies including, without limitation, those
                               governing the receipt, destruction, procurement, and handling of
                               controlled substances, provided that such procedures may be
                               reviewed and amended from time to time by the Board (or an
                               authorized committee thereof).


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                       The Company shall operate a robust supply chain security program. The
                        Board (or an authorized committee thereof) shall review Purdue’s current
                        applicable policies and program and decide whether to have them apply to
                        the Company, or whether another program should be implemented,
                        consistent with the Operating Injunction after taking into account the
                        Company’s Purpose. The Board (or an authorized committee thereof) will
                        review the supply chain security program from time to time and amend the
                        program if appropriate, in a manner consistent with the Company’s
                        Purpose.
Compliance
                 Compliance and Regulatory Programs
and Ethics
                        The Company will implement a comprehensive internal compliance
                        management and assurance program that:

                           o   is designed to ensure adherence to the Operating Injunction and
                               these Governance Covenants in accordance with Section 6.7 of the
                               Operating Agreement.
                           o   is designed to ensure compliance with all applicable laws and
                               regulations.
                           o   is consistent with: (i) the Office of Inspector General Compliance
                               Program Guidance for Pharmaceutical Manufacturers; (ii) the US
                               Department of Justice Guidance on the Evaluation of Corporate
                               Compliance Programs; and (iii) the PhRMA Code on Interactions
                               with Healthcare Professionals.
                           o   is reasonably designed to mitigate compliance risks applicable to a
                               pharmaceutical business including, without limitation, those
                               relating to: bribery and corruption; conflicts of interest; physical
                               and product security; bioethics; clinical trial transparency and
                               patient safety; provided that such Code of Ethics and policies may
                               be reviewed and amended from time to time by the Board (or an
                               authorized committee thereof) in a manner consistent with the
                               Company’s Purpose, and implemented through a Code of Ethics
                               and the adoption of procedures, standards and other controls.

Environmental,   Environmental, Workplace Health & Safety
Health, &
                       The Company will maintain environment, workplace health and safety
Safety
                        policies, programs and controls that:

                           o   are reasonably likely to ensure compliance with applicable laws
                               and regulations.
                           o   are reasonably designed to minimize any adverse impacts on the
                               environment associated with the Company’s operations or
                               products, whether in use or at the end of their useful life.
                           o   are reasonably designed to educate and enable Company employees
                               and contractors to work in a safe, healthy and environmentally
                               responsible manner.


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                         o   reflect and embed leadership commitment to maintaining a safe,
                             “zero injury” workplace.
                         o   are reasonably designed to proactively identify and manage
                             workplace hazards to employees and third parties.
                         o   are reasonably designed to embed a culture of safety and wellbeing
                             throughout the Company.
                         o   are reasonably designed to continuously improve performance.
                         o   enable the Company to transparently communicate performance to
                             stakeholders through the Public Benefit Reports.


Diversity,          The Company shall use reasonable efforts to strengthen its workforce,
Equity &             support local communities, and advance its Purpose through implementation
Inclusion            of policies, programs and improvement targets that promote workplace
                     diversity, foster equity, and advance a culture of inclusion throughout the
                     organization (collectively, “Inclusion Programs”). The Board (or an
                     authorized committee thereof) shall review Purdue’s current Inclusion
                     Programs and may decide to have them apply to the Company or whether
                     other Inclusion Programs should be adopted in a manner consistent with the
                     Company’s Purpose. The Board (or an authorized committee thereof) will
                     review its Inclusion Programs from time to time and amend them if
                     appropriate, in a manner consistent with the Company’s Purpose.

Oversight
                    On an annual basis, the CEO of the Company shall certify, solely in his or
                     her capacity as an officer of the Company, that, after reasonable inquiry and
                     based on his or her knowledge, the Company is in material compliance with
                     these Covenants. The certification shall be provided to the Board, the State
                     Monitor Committee (as defined in the Operating Injunction) and upon
                     request, any State Attorney General.

                    In accordance with the Operating Agreement, under the oversight of the
                     Board, the Company and its representatives shall cooperate with, and
                     reasonably respond to requests for assistance by, the Monitor in the
                     performance of the Monitor’s duties and responsibilities as provided for in
                     the Plan, the Confirmation Order and the Operating Injunction, including
                     by responding to reasonable requests for access to relevant books and
                     records of the Company and the Company’s Subsidiaries. The reasonable
                     compensation of, and costs and expenses incurred by, the Monitor in
                     connection with its duties and responsibilities, including the fees and
                     expenses of professionals retained by the Monitor shall be paid by the
                     Company.

                    The Company will not amend the Operating Agreement, including by
                     merger, consolidation, division or otherwise, (i) in any manner that is
                     inconsistent with the Plan or the Confirmation Order without (I) an order of
                     the Bankruptcy Court approving such modification, and (II) to the extent
                     such proposed amendment adversely affects the Master Disbursement
                     Trust, the unanimous consent of the MDT Trustees. The Company will

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                     give the Monitor 7 business days’ written notice of any amendment to the
                     Operating Agreement and will reasonably consider comments of the
                     Monitor solely to the extent that the contemplated amendment would or
                     would potentially alter, undermine or limit or interfere with the
                     effectiveness or the implementation of the Operating Injunction. The
                     Monitor shall promptly deliver such notice to the State Monitor Committee
                     (as defined in the Operating Injunction).

Successors          Any successor owner (whether through one transaction or a series of related
                     transactions) of the Opioid Business, shall be obligated to comply with the
                     provisions of these Governance Covenants that are specifically enumerated
                     under the category “Product Diversion and Security” and the matters
                     described in clauses (i) and (iv) of Section 2.3(c) of the Operating
                     Agreement; provided (x) that the obligations of any successor to comply
                     with the Operating Injunction shall be as set forth in the Operating
                     Injunction and (y) as long as a successor maintains internal standard
                     operating procedures similar to the Standard Operating Procedures for
                     Purdue Pharma L.P. and Associated US Companies, as may be amended
                     from time to time by the Board, as appropriate and reasonable for such
                     successor, taking into account such successor’s size and resources, such
                     successor shall not be obligated to adopt the Company’s standard operating
                     procedures.




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